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Ho…j`fi®.a\w. NATHAN_'
February 28, 20 l 8 l uNiTED sTATEs Di-stniot JuDGE

VIA CM/ECF

 

The Hon. Aiison ]. Nathan, U.S.D.j.

LFJnited States District Court

Southern District of New York

Thurgood Marsha|| United States Courthouse
40 Fo|ey Square

New York, N.Y. i0007

The Court grants Plaintiff`s motion to discontinue
this action Without prejudice This Order resolves
Dkt. No. 18 and closes the action.

SO ORDERED.

 

 

 

Re: Durst Pyramid LLC et al, v. Harleysvilie lns. Co. of New York, et al.
Civil Action No. l:iB-cv-009|5

Your Honor:

This firm represents defendants Har|eysvi|le lnsurance Company of New York and Harieysviile
Worcester |nsurance Company (coiiective|y, “Harleysvi||e”) in the above-captioned matter.

Har|eysvi||e does not object to plaintiffs’ request to dismiss this action without prejudice and
reserves ali of its rights and defenses with respect to any future declaratory judgment action
brought by plaintiffs, waiving none.

Respectfuiiy submitted,

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cc: Al| counsel of record (via CM/ECF)

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